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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           WINSTON-SALEM DIVISION

  IN RE:

  FREIRICH FOODS, INC.,                              CASE NO. 24-50204
                                                     CHAPTER 11
            DEBTOR

                      MOTION FOR ORDER GRANTING AUTHORITY
                           TO ASSUME EXECUTORY CONTRACT

       NOW COMES Freirich Foods, Inc. (the “Debtor”) and moves the Court pursuant to § 365

of the Bankruptcy Code and Rule 6006 of the Federal Rules of Bankruptcy Procedure as follows:

       1.      On March 20, 2024 (the “Petition Date”), the Debtor filed a voluntary petition

seeking relief under Chapter 11 of the Bankruptcy Code and continues in possession of its assets

as debtor-in-possession.

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334,

and this matter is a core proceeding under 28 U.S.C. §157(b)(2). Venue is proper pursuant to 28

U.S.C. §§1408 and 1409.

       3.      The Debtor is a North Carolina corporation that presently conducts its business

operations at a production facility located at 815 W. Kerr St., Salisbury, NC (the “Production

Facility”). The Debtor is engaged in the business of producing prepared meat products, which it

then packages on the Production Facility.

       4.      The Debtor files this motion seeking authorization to assume that certain executory

contract between the Debtor and Icon Boilers (“Icon”) related to the installation of two (2) boilers

within the Production Facility, as evidenced by that certain Proposal dated June 19, 2023 (the
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“Proposal”) attached hereto as Exhibit A. The boilers are essential to the Debtor’s business

operations.

       5.         Pursuant to the terms of the Proposal, on or about June 20, 2023, the Debtor

engaged Icon to install two boilers within the Production Facility for an estimated cost of $193,400

plus shipping costs and sales tax. Upon information and belief, based upon communications with

counsel for Icon:

       a.         Icon engaged Versa-Tek Enterprises, L.L.C. (the “Sub”) as a subcontractor to

       complete portions of the installation of the boilers and the Sub completed those duties in

       late 2023. Icon retained the responsibility to complete certain portions of the installation

       of the boilers, including performing pre-start, start-up, and commissioning work of the

       boilers.

       b.         On December 27 and December 28, 2023, Icon employees worked on performing

       such pre-start, startup, and commissioning tasks, but were not yet able to get the boilers

       operational.

       c.         On January 5, 2024, Icon returned to the Production Facility to address boiler

       performance issues identified by the Debtor and noted an installation error made by the

       Sub. The Sub corrected the installation errors between January 5, 2024, and February 6,

       2024.

       d.         On February 6, 2024, Icon again returned to the Production Facility to

       recommission the boilers after the work completed by the Sub, however, Icon identified

       ongoing issues, and thus ordered additional parts necessary to complete the installation and

       commissioning of the boilers. The Debtor filed its petition commencing this bankruptcy

       case prior to Icon scheduling a date to complete the work and commission the boilers.
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       e.      Until the boilers are commissioned, they cannot safely be operated within the

       Production Facility. Once the boilers are commissioned, all of Icon’s obligations under

       the Proposal shall be complete except for contractual obligations with respect to certain

       warranties as well as a separate service agreement arrangement between the Debtor and

       Icon.

       6.      In anticipation of the completion of the work set forth in the Proposal, Icon issued

an invoice to the Debtor in the amount of $211,218.00, which consisted of $193,400.00 as set forth

in the Proposal, $4,000.00 for shipping of equipment, and sales tax of $13,818.00 (the “Installation

Invoice”). The Debtor also has outstanding two (2) additional invoices for (a) a service call on

November 8, 2023, and (b) a semi-annual invoice for preventative maintenance services on other

boiler equipment at the Production Facility. The additional invoices are for $1,511.38 and

$2,227.74 respectively, totaling $3,739.12 (the “Additional Invoices” and together with the

Installation Invoice, the “Invoices”).

       7.      Under the Proposal, both Debtor and Icon have remaining unperformed

obligations—Icon is to perform startup and commissioning services to activate and enable the

boilers and the Debtor is to pay the amount set forth in the Invoices.

       8.      The Debtor seeks authorization to immediately assume the Proposal as an executory

contract, for the following reasons:

       a.      Icon and the Debtor are parties to an executory contract outlined in the Proposal.

       b.      The Debtor needs the boilers to be operational in order to conduct its business.

       c.      Icon believes it can complete its obligations under the Proposal in as little as one

       day of work on the boilers, at which point the boilers will be operational allowing the

       Debtor to resume its business activities.
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       d.      Delay in electing to assume the Proposal would also delay getting the boilers

       operational, harming the business of the Debtor. The Debtor currently has one operative

       boiler that is struggling to handle the current load, and if that boiler failed all operations

       would cease.

       9.      Under § 365(b)(1), if there has been a default in an executory contract, the default

must be cured before the contract may be assumed. The Debtor, by failing to pay the Invoices, is

currently in default of its obligations under the Proposal.

       10.     The Debtor believes that (a) the boilers are essential to its business and (b) Icon is

the only party properly suited to complete the installation and commission of the boilers.

       WHEREFORE, the Debtor respectfully requests that the Court enter an Order authorizing

 the assumption of the executory contract created under the Proposal, authorizing the payment of

 the Invoices within fifteen (15) days of the completion of the work required under the Proposal,

 determining that any portion of the Invoices that are not timely paid shall be granted

 administrative priority, and granting such other relief as is just and equitable.

Date: April 16, 2024
                                                      /s/ John A. Northen

Counsel for the Debtor:
John A. Northen, NCSB #6789
jan@nbfirm.com
Vicki L. Parrott, NCSB #25449
vlp@nbfirm.com
Northen Blue, LLP
Post Office Box 2208
Chapel Hill, NC 27515-2208
Telephone: 919-968-4441
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                    EXHIBIT A
            Proposal Dated June 19, 2023
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                                                                                                      _@_
                                                                                                      ICON BOILER


                                                            Proposal
                        (Valid for 30 days from Proposal date, see section 4 below Pricing and Taxes)

                           PROPRIETARY AND CONFIDENTIAL PROPERTY OF ICON BOILER

                      DISTRIBUTION TO OTHER THAN THE NAMED RECIPIENT IS PROHIBITED

                                            © 2020 Icon Boiler          All rights reserved


        Prepared For:                                                   Date: 6/19/23
        Paul Sardinas
        704-798-3039                                                    Proposal Number: 119562
        paulbardinas@aol.com

        Remittance Address:
        Freirich Foods Inc                                              Job Name:
        815 W Kerr St,                                                  Boiler replacement project
        Salisbury, NC 28144


        Delivery Terms:                                                 Payment Terms:
        See below                                                       Net 30 Days




      Icon Boiler is pleased to provide the following proposal for your review and approval.

                                    Equipment. ............... ..... .$100,300
                                    Installation/startup ....... .. ... $93.1 00
                                   Total. ............. ................ $193,400

      Note:
          •     Does not included shipping and taxes
          •     Estimated lead time 10-12 weeks

      Equipment:
      (2) Boilers
      Triad Natural Gas 1600 High Pressure Steam

      The following trim items shall be integral to the boiler and factory installed, plumbed, and wired as
      appropriate:
         • Control relay to work in conjunction with two Low Water Cut-offs
         •     Two pressure controls to manage overall operation of the boiler.
         • Operating Pressure Limit Control.
         •     Safety Pressure High Limit Control that is a second high -limit with manual reset that prevents
              burner operation above nominal operating conditions.
         •    Low Water Level Control (float type) that prevents operations if the boiler water level falls below
              a nominal operating level.
         •    Safety Low Water Cut-off with Manual Reset
         •    Steam outlet isolation and check valve
         •    Feedwater isolation and check valve



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             •    Slow and fast opening bottom
             •    Surface blowdown globe valve
             •    Pressure gauge of suitable range for monitoring operations.
             •    High Visibility Call for Heat Light to indicate when the boiler circuitry has been activated.
             •    On/Off switch .
             •    ASME relief valve with a setting of 150 psi.

       Factory mounted & Hydro tested ASME Trim Valve Package:
          • 51-100psi operating pressure with 4" flanged steam outlet.
          •    Slow & quick opening bottom blowdown valves,
          • Surface blowdown valve,
          •    Feedwater gate & check valves,
          • Steam outlet gate valve

       Burner
       Power Flame JR50
          •   Honeywell flame safeguard- UV Scanner.
          •   Pre-Piped and Wired Gas Train
          •   High Gas Pressure Switch With Manual Reset For Gas Train, Vent less, Indicator.

       Barometric Stack Damper MG2 -10
          •   10" - Field Mounted

       Feedwater system:
          • 2 new pumps
          •  Sparge to pre-heat feedwater

       Flue Venting:
       Qty Item No                         Desc ription
          B S-6 50                         High Ten pe ature Sealant Silicone I max 650' F
          4 CAX 1-BSVo/AC                  Sl GLE ADAPT CAX i -8" 304
          2 CAX 1-8T90CE                   TEE CAX1 -8" 96 DEG 304-GALV
          2 CAX1-8AP                       ANCHOR PLATE CAX1-8'
          2 CAX1 -8E45C£                   ELBOW CAX 1·8 " 45 DEG 30<1 -GALV
          I CAX1-i6TCCE                    TE CAP C.AX1-16'" 304 -GALV
          2 CAXI-16T45!l8CE                TEE CAXl-16" TO 8" AS DEG 304-GALV
          3 CAX1-16A P                     ANCHOR PLATE CAX l -16"
          2 CAXi · 16LIJC E                VARIABLE LENGTH CAXl-15'" 304-GALI/
          3 CAX1-l6 ~90C E                 ELBOW CAXl-16" 90 OfG W4·GALV
         2 CAXI-l6l1BCE                    LENGTH CAXI-16" X 18'" 304 -GALV
          1 CAX1-16LACE                    ADJUST LENGTH CA.X1·16" 304-G.l\LV
          T CAX1·16WTE                     \IllAlL THIMBLECAXl-16" GALV
         9 CAXI-i 6L36C E                  LENGTH CAX ! - 16" X 36'" 304-GALV
         2 CAXI-1 6'vVGHD                  WALL G IDE HEAVY DUTY CAXl-16 '"
         1 CAXH6WSH D                      WALL SUPPORT H-DCAX1·16"
         1 CAX1 ·16CRCBC                   em E CAP WITH SCREEN CAXl-16" 304




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      Installation:
      INSTALL TWO (2) VERTICAL 40HP BOILERS
      WE PROPOSE TO FURNISH LABOR AND MATERIAL TO PERFORM THE FOLLOWING SCOPE OF
      WORK:
      1. DISCONNECT EXISTING CONDENSATE TANK AND SLIDE OUT OF POSITION TO ALLOW OLD
      BOILER TO BE REMOVED AND NEW BOILERS TO BE INSTALLED INTO POSITION (WORK TO
      BE DONE ON OVERTIME).
      2. RECONNECT EXISTING CONDENSATE TANK AND INSTALL NEW TAPS FOR TWO (2) NEW
      PUMPS (WORK TO BE DONE ON OVERTIME).
      3. REMOVE EXISTING FLUE VENTING AND INSTALL CONMPLETE NEW VENTING.
      4. INSTALL REGULATORS AND GAS PIPING TO BOTH NEW BOILERS.
      5. INSTALL ALL SLOWDOWN PIPING FROM BOTH BOILERS TO EXISTING DRAIN.
      6. INSTALL ALL FEEDWATER PIPING TO BOTH BOILERS.




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       7. INSTALL ALL PIPING ASSOCIATED WITH NEW CONDENSATE PUMPS PROVIDED BY ICON
       BOILER.
       8. INSTALL RELIEF VALVE PIPING THROUGH EXTERIOR WALL.
       9. INSTALL BOTH STEAM DISCHARGE LINES AND TIE INTO EXISTING PLANT STEAM LINE.
       10. PERFORM ALL POWER WIRING TO BOTH BOILERS.
       11. ENGINEER AND FABRICATE CONTROL PANEL FOR CONDENSATE PUMP SELECTION AND
       BACKUP PUMP SELECTION.
       12. SUPPLY ELECTRICAL SCHEMATICS FOR NEW CONTROL PANEL.
       13. ASSIST ICON BOILER WITH START UP AND CHECKOUT OF COMPLETE SYSTEM.
       ***NOTE: LULL SUPPLIED BY VERSA-TEK***

       Should you have any further questions, please do not hesitate to contact me at (864) 314-0576.

       Thank you,

       Kent Pfitzer
       Sales Engineer

       Please send all purchase orders to kent.pfitzer@iconboiler.com

        Tax Status:        Taxable o              IF EXEMPT PLEASE SUBMIT COMPLETED TAX EXEMPTION CERTIFICATE WITH YOUR
                          Exempt   o              SIGNED PROPOSAL OR WITH YOUR PURCHASING DOCUMENTS, KEEP YOUR ORIGINAL
                                                  ON FILE IN THE OFFICE. YOU WILL BE CHARGED TAX IF A VALID EXEMPTION
                                                  CERTIFICATE IS NOT ON FILE BEFORE EQUIPMENT, PARTS OR SERVICES ARE
                                                  PROVIDED.



       This proposal and pricing are based on shipment of all products (not including field labor).

       This proposal is subject to your acceptance of the attached Icon Boiler terms and conditions
       (Equipment).

        CUSTOMER ACCEPTANCE                                           ICON BOILER ACCEPTANCE




                 ~
        Authorized Representative                                     Submitted By: Kent Pfitzer
                                                                      Cell: (561 ) 980-4099
                P~~L ~MU>tP4.f                                        Office: (336) 378-0670
        Printed Name



        Title                                                         Authorized Representative


        Purchase Order ___          0.
                                    _1_~_~.. (.:_______
                                                                      Title

        Acceptance Date _ _         r,..:(._,._~..l_~
                                                  ~. . .:.__;______
                                                                      Signature Date




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        TERMS AND CONDITIONS • COMMERCIAL EQUIPMENT
        "Company" shall mean Icon Boiler Sales and Service Inc.•
        1. Acceptance. These terms and conditions are an integral part of Company's offer and form the basis of any agreement
        (the "Agreement") resulting from Company's proposal (the "Proposal") for the sale of the described commercial
        equipment and any ancillary services (the "Equipment"). COMPANY'S TERMS AND CONDITIONS ARE SUBJECT TO
        PERIODIC CHANGE OR AMENDMENT. The Proposal is subject to acceptance in writing by the party to whom this offer is made or
        an authorized agent ("Customer") delivered to Company within 30 days from the date of the Proposal. If Customer accepts the
        Proposal by placing an order, without the addition of any other terms and conditions of sale or any other modification, Customer's
        order shall be deemed acceptance of the Proposal subject to Company's terms and conditions. If Customer's order is expressly
        conditioned upon Company's acceptance or assent to terms and/or conditions other than those expressed herein, return of such
       order by Company with Company's terms and conditions attached or referenced serves as Company's notice of objection to
        Customer's terms and as Company's counter-offer to provide Equipment in accordance with the Proposal and the Company's terms
       and conditions. If Customer does not reject or object in writing to Company within 10 days, Company's counter-offer will be deemed
       accepted. Customer's acceptance of the Equipment will in any event constitute an acceptance by Customer of Company's terms
       and conditions. This Agreement is subject to credit approval by Company. Upon disapproval of credit, Company may delay or
       suspend performance or, at its option, renegotiate prices and/or terms and conditions with Customer. If Company and Customer
       are unable to agree on such revisions, this Agreement shall be cancelled without any liability.
       2. Connected Services. In addition to these terms and conditions , the Connected Services Terms of Service ("Connected
       Services Terms"), available at https://www.lcon Boiler.com/lcon BoilerConnectedServicesTerms, as updated from time to time, are
       incorporated herein by reference and shall apply to the extent that Company provides Customer with Connected Services, as
       defined in the Connected Services Terms.
       3. Title and Risk of Loss. All Equipment sales with destinations to Canada or the U.S. shall be made as follows: FOB Company's
       U.S. manufacturing facility or warehouse (full freight allowed). Title and risk of loss or damage to Equipment will pass to Customer
       upon tender of delivery of such to carrier at Company's U.S. manufacturing facility or warehouse.
        4. Pricing and Taxes. Within thirty (30) days following Customer acceptance of the Proposal without addition of any other terms
        and conditions of sale or any modification, Customer shall provide notification of release for immediate production at Company's
        factory. Prices for Equipment are subject to change at any time prior to shipment to reflect any cost increases related to the
        manufacture, supply, and shipping of Equipment. This includes, but is not limited to, cost increases in raw materials, supplier
        components, labor, utilities, freight, logistics, wages and benefits, regulatory compliance, or any other event beyond Company's
        control. If shipment is delayed due to Customer's actions, Company may also charge Customer with storage fees. If a release is not
        received within 6 months following order acceptance, Company reserves the right to cancel any order. Company shall be entitled to
        equitable adjustments in the contract price to reflect any cost increases as set forth above and will provide notice to Customer prior
        to the date for which the increased price is to be in effect for the applicable customer contract. In no event will prices be decreased.
        The price of Equipment does not include any present or future foreign, federal, state, or local property, license, privilege, sales, use,
        excise, value added, gross receipts or other like taxes or assessments. Such amounts will be itemized separately to Customer, who
        will make prompt payment to Company. Company will accept valid exemption documentation for such taxes and assessments from
        Customer, if applicable. All prices include packaging in accordance with Company's standard procedures. Charges for special
        packaging, crating or packing are the responsibility of Customer.
        5. Delivery and Delays. Delivery dates are approximate and not guaranteed. Company will use commercially reasonable efforts to
       deliver the Equipment on or before the estimated delivery date, will notify Customer if the estimated delivery dates cannot be
       honored, and will deliver the Equipment and services as soon as practicable thereafter. In no event will Company be liable for any
       damages or expenses caused by delays in delivery.
       6. Performance. Company shall be obligated to furnish only the Equipment described in the Proposal and in submittal data (if such
       data is issued in connection with the order). Company may rely on the acceptance of the Proposal, and in submittal data as
       acceptance of the suitability of the Equipment for the particular project or location. Unless specifically stated in the Proposal,
       compliance with any local building codes or other laws or regulations relating to specifications or the location, use or operation of the
       Equipment is the sole responsibility of Customer. If Equipment is tendered that does not fully comply with the provisions of this
       Agreement, and Equipment is rejected by Customer, Company will have the right to cure within a reasonable time after notice
       thereof by substituting a conforming tender whether or not the time for performance has passed.
       7. Force Majeure. Company's duty to perform under this Agreement and the Equipment prices are contingent upon the non-
       occurrence of an Event of Force Majeure. If the Company shall be unable to carry out any material obligation under this Agreement
       due to an Event of Force Majeure, this Agreement shall at Company's election (i) remain in effect but Company's obligations shall
       be suspended until the uncontrollable event terminates or (ii) be terminated upon 10 days notice to Customer, in which event
       Customer shall pay Company for all parts of the Work furnished to the date of termination. An "Event of Force Majeure" shall mean
      any cause or event beyond the control of Company. Without limiting the foregoing, "Event of Force Majeure" includes: acts of God;
      acts of terrorism, war or the public enemy; flood; earthquake; tornado; storm; fire; civil disobedience; pandemic insurrections; riots;
      labor/labour disputes; labor/labour or material shortages; sabotage; restraint by court order or public authority (whether valid or
      invalid); and action or non-action by or inability to obtain or keep in force the necessary governmental authorizations, permits,
      licenses, certificates or approvals if not caused by Company; and the requirements of any applicable government in any manner that
      diverts either the material or the finished product to the direct or indirect benefit of the government.
      8. Limited Warranty. Company warrants the Equipment manufactured by Company for a period of the lesser of 12 months from
      initial start-up or 18 months from date of shipment, whichever is less, against failure due to defects in material and manufacture and
      that it has the capacities and ratings set forth in Company's catalogs and bulletins ('Warranty"). Equipment manufactured by
      Company that includes required start-up and sold in North America will not be warranted by Company unless Company
      performs the Equipment startup. Exclusions from this Warranty include damage or failure arising from: wear and tear; corrosion,
      erosion, deterioration; modifications made by others to the Equipment; repairs or alterations by a party other than Company that
      adversely affects the stability or reliability of the Equipment; vandalism; neglect; accident; adverse weather or environmental
      conditions; abuse or improper use; improper installation; commissioning by a party other than Company; unusual physical or




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          electrical or mechanical stress; operation with any accessory, equipment or part not specifically approved by Company; refrigerant
          not supplied by Company; and/or lack of proper maintenance as recommended by Company. Company shall not be obligated to pay
          for the cost of lost refrigerant or lost product. Company's obligations and liabilities under this Warranty are limited to furnishing
          replacement equipment or parts, at its option, FCA (lncoterrns 2000) factory or warehouse (f.o.b. factory or warehouse for US
          domestic purposes) at Company-designated shipping point, freight-allowed to Company's warranty agent's stock location, for all
          non-conforming Company-manufactured Equipment (which have been returned by Customer to Company. Returns must have prior
          written approval by Company and are subject to restocking charge where applicable. Equipment, material and/or parts that are not
          manufactured by Company are not warranted by Company and have such warranties as may be extended by the respective
          manufacturer. COMPANY MAKES NO REPRESENTATION OR WARRANTY, OF ANY KIND, INCLUDING WARRANTY OF
          MERCHANTABILITY OR FITNESS FOR PARTICULAR PURPOSE, IS MADE REGARDING PREVENTING, ELIMINATING,
          REDUCING OR INHIBITING ANY MOLD, FUNGUS, BACTERIA, VIRUS, MICROBIAL GROWTH, OR ANY OTHER
          CONTAMINANTS (INCLUDING COVID-19 OR ANY SIMILAR VIRUS) (COLLECTIVELY, "CONTAMINANTS"), WHETHER
          INVOLVING OR IN CONNECTION WITH EQUIPMENT, ANY COMPONENT THEREOF, SERVICES OR OTHERWISE. IN NO
         EVENT SHALL ICON BOILER HAVE ANY LIABILITY FOR THE PREVENTION, ELIMINATION, REDUCTION OR INHIBITION OF
         THE GROWTH OR SPREAD OF SUCH CONTAMINANTS INVOLVING OR IN CONNECTION WITH ANY EQUIPMENT, ANY
         COMPONENT THEREOF, SERVICES OR OTHERWISE AND CUSTOMER HEREBY SPECIFICALLY ACKNOWLDGES AND
         AGREES THERETO. No warranty liability whatsoever shall attach to Company until Customer's complete order has been paid for in
         full and Company's liability under this Warranty shall be limited to the purchase price of the Equipment shown to be defective.
         Additional warranty protection is available on an extra-cost basis and must be in writing and agreed to by an authorized signatory of
         the Company. EXCEPT FOR COMPANY'S WARRANTY EXPRESSLY SET FORTH HEREIN, COMPANY DOES NOT MAKE,
         AND HEREBY EXPRESSLY DISCLAIMS, ANY WARRANTIES, EXPRESS OR IMPLIED CONCERNING ITS PRODUCTS,
         EQUIPMENT OR SERVICES, INCLUDING, WITHOUT LIMITATION, ANY WARRANTY OF DESIGN, MERCHANTABILITY OR
         OF FITNESS FOR A PARTICULAR PURPOSE, OR OTHERS THAT ARE ALLEGED TO ARISE FROM COURSE OF DEALING
         OR TRADE.
         9. Indemnity. To the fullest extent permitted by law, Company and Customer shall indemnify, defend and hold harmless each
         other from any and all claims, actions, costs, expenses, damages and liabilities, including reasonable attorneys' fees, resulting from
         death or bodily injury or damage to real or personal property, to the extent caused by the negligence or misconduct of their
         respective employees or other authorized agents in connection with their activities within the scope of this Agreement. Neither party
         shall indemnify the other against claims, damages, expenses or liabilities to the extent attributable to the acts or omissions of the
        other party. If the parties are both at fault, the obligation to indemnify shall be proportional to their relative fault. The duty to
        indemnify will continue in full force and effect, notwithstanding the expiration or early termination hereof, with respect to any claims
        based on facts or conditions that occurred prior to expiration or termination.
        10. Insurance. Upon request, Company will furnish evidence of its standard insurance coverage. If Customer has requested to be
        named as an additional insured under Company's insurance policy, Company will do so but only subject to Company's manuscript
        additional insured endorsement under its primary Commercial General Liability policies. In no event does Company waive any
        rights of subrogation.
        11. Customer Breach. Each of the following events or conditions shall constitute a breach by Customer and shall give Company
        the right, without an election of remedies, to terminate this Agreement, require payment prior to shipping, or suspend performance
        by delivery of written notice: (1) Any failure by Customer to pay amounts when due; or (2) any general assignment by Customer for
        the benefit of its creditors, or if Customer becomes bankrupt or insolvent or takes the benefit of any statute for bankrupt or insolvent
        debtors, or makes or proposes to make any proposal or arrangement with creditors, or if any steps are taken for the winding up or
        other termination of Customer or the liquidation of its assets, or if a trustee, receiver, or similar person is appointed over any of the
       assets or interests of Customer; (3) Any representation or warranty furnished by Customer in connection with this Agreement is
       false or misleading in any material respect when made; or (4) Any failure by Customer to perform or comply with any material
       provision of this Agreement. Customer shall be liable to the Company for all Equipment furnished and all damages sustained by
       Company (including lost profit and overhead).
       12. Limitation of Liability. NOTWITHSTANDING ANYTHING TO THE CONTRARY, IN NO EVENT SHALL COMPANY BE
       LIABLE FOR ANY SPECIAL, INCIDENTAL, INDIRECT CONSEQUENTIAL, OR PUNITIVE OR EXEMPLARY DAMAGES
       (INCLUDING WITHOUT LIMITATION REFRIGERANT LOSS, BUSINESS INTERRUPTION, LOST DATA, LOST REVENUE,
       LOST PROFITS) EVEN IF A PARTY HAS BEEN ADVISED OF SUCH POSSIBLE DAMAGES OR IF SAME WERE
       REASONABLY FORESEEABLE AND REGARDLESS OF WHETHER THE CAUSE OF ACTION IS FRAMED IN CONTRACT,
       NEGLIGENCE, ANY OTHER TORT, WARRANTY, STRICT LIABILITY, OR PRODUCT LIABILITY). In no event will Company's
       liability in connection with the provision of products or services or otherwise under this Agreement exceed the entire
       amount paid to Company by Customer under this Agreement.
       13. COVID-19 LIMITATION ON LIABILITY
      The transmission of COVID-19 may occur in a variety of ways and circumstances, many of the aspects of which are currently not
       known. HVAC systems, products, services and other offerings have not been tested for their effectiveness in reducing the spread of
      COVID-19, including through the air in closed environments. IN NO EVENT WILL ICON BOILER BE LIABLE UNDER THIS
      AGREEMENT OR OTHERWISE FOR ANY ACTION OR CLAIM, WHETHER BASED ON WARRANTY, CONTRACT, TORT OR
      OTHERWISE, FOR ANY BODILY INJURY (INCLUDING DEATH) OR ANY OTHER LIABILITIES, DAMAGES OR COSTS
      RELATED TO COVID-19 (INCLUCING THE SPREAD, TRANSMISSION OR CONTAMINATION THEREOF) (COLLECTIVELY,
      "COVID-19 LIABILITIES") AND CUSTOMER HEREBY EXPRESSLY RELEASES ICON BOILER FROM ANY SUCH COVID-19
      LIABILITIES.
      14. Nuclear Liability. In the event that the Equipment sold hereunder is to be used in a nuclear facility, Customer will, prior to such
      use, arrange for insurance or governmental indemnity protecting Company against all liability and hereby releases and agrees to
      indemnify Company and its suppliers for any nuclear damage, including loss of use, in any manner arising out of a nuclear incident,
      whether alleged to be due, in whole or in part to the negligence or otherwise of Company or its suppliers.
      15. Intellectual Property; Patent Indemnity. Company retains all ownership, license and other rights to all patents, trademarks,
      copyrights, trade secrets and other intellectual property rights related to the Equipment, and, except for the right to use the
      Equipment sold, Customer obtains no rights to use any such intellectual property. Company agrees to defend any suit or proceeding




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         brought against Customer so far as such suit or proceeding is solely based upon a claim that the use of the Equipment provided by
         Company constitutes infringement of any patent of the United States of America, provided Company is promptly notified in writing
         and given authority, infonnation and assistance for defense of same. Company will, at its option, procure for Customer the right to
         continue to use said Equipment, or modify it so that it becomes non-infringing, or replace same with non-infringing Equipment, or to
         remove said Equipment and to refund the purchase price. The foregoing will not be construed to include any Agreement by
         Company to accept any liability whatsoever in respect to patents for inventions including more than the Equipment furnished
         hereunder, or in respect of patents for methods and processes to be carried out with the aid of said Equipment. The provision of
         Equipment by Company does not convey any license, by implication, estoppel, or otherwise, under patent claims covering
        combinations of said Equipment with other devices or elements. The foregoing states the entire liability of Company with regard to
         patent infringement. Notwithstanding the provisions of this paragraph, Customer will hold Company hannless against any expense
        or Joss resulting from infringement of patents or trademarks arising from compliance with Customer's designs or specifications or
        instructions.
        16. Cancellation. Equipment is specially manufactured in response to orders. An order placed with and accepted by Company
        cannot be delayed, canceled, suspended, or extended except with Company's written consent and upon written terms accepted by
        Company that will reimburse Company for and indemnify Company against Joss and provide Company with a reasonable profit for
        its materials, time, labor, services, use of facilities and otherwise. Customer will be obligated to accept any Equipment shipped,
        tendered for delivery or delivered by Company pursuant to the order prior to any agreed delay, cancellation, suspension or
        extension of the order. Any attempt by Customer to unilaterally revoke, delay or suspend acceptance for any reason whatever after
        it has agreed to delivery of or accepted any shipment shall constitute a breach of this Agreement. For purposes of this paragraph,
        acceptance occurs by any waiver of inspection, use or possession of Equipment, payment of the invoice, or any indication of
       exclusive control exercised by Customer.
       17. Invoicing and Payment. Unless otherwise agreed to in writing by Company, equipment shall be invoiced to Customer upon
       tender of delivery thereof to the carrier. Customer shall pay Company's invoices within net 30 days of shipment date. Company
       reserves the right to add to any account outstanding for more than 30 days a service charge equal to the Jesser of the maximum
       allowable legal interest rate or 1.5% of the principal amount due at the end of each month. Customer shall pay all costs (including
       attorneys' fees) incurred by Company in attempting to collect amounts due and otherwise enforcing these tenns and conditions. If
       requested, Company will provide appropriate lien waivers upon receipt of payment. Company may at any time decline to ship, make
       delivery or perform work except upon receipt of cash payment, Jetter of credit, or security, or upon other tenns and conditions
       satisfactory to Company. Customer agrees that, unless Customer makes payment in advance, Company will have a purchase
       money security interest in all Equipment to secure payment in full of all amounts due Company and its order for the Equipment,
       together with these tenns and conditions, fonn a security agreement (as defined by the UCC). Customer shall keep the Equipment
       free of all taxes and encumbrances, shall not remove the Equipment from its original installation point and shall not assign or
       transfer any interest in the Equipment until all payments due Company have been made. The purchase money security interest
       granted herein attaches upon Company's acceptance of Customer's order and on receipt of the Equipment described in the
       accepted Proposal but prior to its installation. The parties have no agreement to postpone the time for attachment unless
       specifically noted in writing on the accepted order. Customer will have no rights of set off against any amounts, which become
       payable to Company under this Agreement or otherwise.
       18. Claims. Company will consider claims for concealed shortages in shipments or rejections due to failure to confonn to an order
       only if such claims or rejections are made in writing within 15 days of delivery and are accompanied by the packing list and, if
      applicable, the reasons in detail why the Equipment does not confonn to Customer's order. Upon receiving authorization and
      shipping instructions from authorized personnel of Company, Customer may return rejected Equipment, transportation charges
      prepaid, for replacement. Company may charge Customer any costs resulting from the testing, handling, and disposition of any
      Equipment returned by Customer which are not found by Company to be nonconfonning. All Equipment damaged during shipment
      and all claims relating thereto must be made with the freight carrier in accordance with such carrier's policies and procedures.
      Claims for Equipment damaged during shipment are not covered under the warranty provision stated herein.
      19. Export Laws. The obligation of Company to supply Equipment under this Agreement is subject to the ability of Company to
      supply such items consistent with applicable laws and regulations of the United States and other governments. Company reserves
      the right to refuse to enter into or perfonn any order, and to cancel any order, under this Agreement if Company in its sole discretion
      detennines that perfonnance of the transaction to which such order relates would violate any such applicable Jaw or regulation.
      Customer will pay all handling and other similar costs from Company's factories including the costs of freight, insurance, export
      clearances, import duties and taxes. Customer will be "exporter of record" with respect to any export from the United States of
     America and will perfonn all compliance and logistics functions in connection therewith and will also comply with all applicable laws,
      rules and regulations. Customer understands that Company and/or the Equipment are subject to laws and regulations of the United
      States of America which may require licensing or authorization for and/or prohibit export, re-€xport or diversion of Company's
      Equipment to certain countries, and agrees it will not knowingly assist or participate in any such diversion or other violation of
     applicable United States of America Jaws and regulations. Customer agrees to hold harmless and indemnify Company for any
     damages resulting to Customer or Company from a breach of this paragraph by Customer.
     20. General. Except as provided below, to the maximum extent provided by Jaw, this Agreement is made and shall be interpreted
     and enforced in accordance with the Jaws of the state of North Carolina without regard to its conflict of Jaw principles that might
     otherwise call for the application of a different state's or province's law. Any action or suit arising out of or related to this Agreement
     must be commenced within one year after the cause of action has accrued. To the extent the Equipment is being used at a site
     owned and/or operated by any agency of the Federal Government, detennination of any substantive issue of Jaw shall be according
     to the Federal common law of Government contracts as enunciated and applied by Federal judicial bodies and boards of contract
     appeals of the Federal Government. This Agreement contains all of the agreements, representations and understandings of the
     parties and supersedes all previous understandings, commitments or agreements, oral or written, related to the subject matter
     hereof. This Agreement may not be amended, modified or tenninated except by a writing signed by the parties hereto. No
     documents shall be incorporated herein by reference except to the extent Company is a signatory thereon. If any term or condition
     of this Agreement is invalid, illegal or incapable of being enforced by any rule of law, all other tenns and conditions of this
     Agreement will nevertheless remain in full force and effect as long as the economic or legal substance of the transaction
     contemplated hereby is not affected in a manner adverse to any party hereto. Customer may not assign, transfer, or convey this




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         Agreement, or any part hereof, or its right, title or interest herein, without the written consent of the Company. Subject to the
         foregoing, this Agreement shall be binding upon and inure to the benefit of Customer's permitted successors and assigns. This
         Agreement may be executed in several counterparts, each of which when executed shall be deemed to be an original, but all
         together shall constitute but one and the same Agreement. A fully executed facsimile copy hereof or the several counterparts shall
         suffice as an original.
         21. Equal Employment Opportunity/Affirmative Action Clause. Company is a federal contractor that complies fully with
         Executive Order 11246, as amended, and the applicable regulations contained in 41 C.F.R. Parts 60-1 through 60-60, 29 U.S.C.
         Section 793 and the applicable regulations contained in 41 C.F.R. Part 60-741; and 38 U.S.C. Section 4212 and the applicable
         regulations contained in 41 C.F.R. Part 60-250 Executive Order 13496 and Section 29 CFR 471, appendix A to subpart A, regarding
         the notice of employee rights.
        22. U.S. Government Work.
        The following provision applies only to direct sales by Company to the US Government. The Parties acknowledge that
         Equipment ordered and delivered under this Agreement are Commercial Items as defined under Part 12 of the Federal Acquisition
        Regulation (FAR). In particular, Company agrees to be bound only by those Federal contracting clauses that apply to "commercial"
        suppliers and that are contained in FAR 52.212-5(e)(1).
        The following provision applies only to Indirect sales by Company to the US Government. As a Commercial Item
        Subcontractor, Company accepts only the following mandatory flow down provisions: 52.219-8; 52.222-26; 52.222-35; 52.222-36;
        52.222-39; 52.247-64. If the sale of the Equipment is in connection with a U.S. Government contract, Customer certifies that it has
        provided and will provide current, accurate, and complete information, representations and certifications to all government officials,
        including but not limited to the contracting officer and officials of the Small Business Administration, on all matters related to the
        prime contract, including but not limited to all aspects of its ownership, eligibility, and performance. Any1hing herein notwithstanding,
        Company will have no obligations to Customer unless and until Customer provides Company with a true, correct and complete
       executed copy of the prime contract. Upon request, Customer will provide copies to Company of all requested written
       communications with any government official related to the prime contract prior to or concurrent with the execution thereof, including
       but not limited to any communications related to Customer's ownership, eligibility or performance of the prime contract. Customer
       will obtain written authorization and approval from Company prior to providing any government official any information about
       Company's performance of the work that is the subject of the Proposal or this Agreement, other than the Proposal or this
       Agreement.
       23. Limited Waiver of Sovereign Immunity. If Customer is an Indian tribe, Customer, whether acting in its capacity as a
       government, governmental entity, a duly organized corporate entity or otherwise, for itself and for its agents, successors, and
       assigns: (1) hereby provides this limited waiver of its sovereign immunity as to any damages, claims, lawsuit, or cause of action
       (herein "Action") brought against Customer by Company and arising or alleged to arise out of the furnishing by Company of any
       product or service under this Agreement, whether such Action is based in contract, tort, strict liability, civil liability or any other legal
       theory; (2) agrees that jurisdiction and venue for any such Action shall be proper and valid (a) if Customer is in the U.S., in any state
      or United States court located in the state in which Company is performing this Agreement or (b) if Customer is in Canada, in the
      superior court of the province or territory in which the work was performed; (3) expressly consents to such Action, and waives any
      objection to jurisdiction or venue; (4) waives any requirement of exhaustion of tribal court or administrative remedies for any Action
      arising out of or related to this Agreement; and (5) expressly acknowledges and agrees that Company is not subject to the
      jurisdiction of Customer's tribal court or any similar tribal forum, that Customer will not bring any action against Company in tribal
      court, and that Customer will not avail itself of any ruling or direction of the tribal court permitting or directing it to suspend its
      payment or other obligations under this Agreement. The individual signing on behalf of Customer warrants and represents that such
      individual is duly authorized to provide this waiver and enter into this Agreement and that this Agreement constitutes the valid and
      legally binding obligation of Customer, enforceable in accordance with its terms.

                                                                                                                             1-26.130-4 (0720)
                                                                                                                  Supersedes 1-26.130-4 (0620)




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        BOILER CONNECTIONS                           RATINGS & CAPACITIES                          LTR   DATE                                             REVISION                                                          REPRESENTATIVE:
                                                                                                                                                                                                                   BY
A.(1) STEAM OUTLET       4" NPT          RATED INPUT                                1700 MBH                                                                                                                                                       ?
8.(2) LWCO               1" NPT          GROSS OUTPUT                               1355 MBH
C.(1) ALWCO              3/4" NPT
D.(1) SAFETY VALVE                       DESIGN PRESSURE                        150 PSIG
                         t" NPT
E.(1) BOILER SLOWDOWN    t" NPT          STEAM (FROM & AT 212' F)                                                                                                                                                           PRo..ECT:
                                                                                    1320 Lbs/Hr
F.(1) PRESSURETROL       3L4" NPT        HEAT RELEASE: (FURNACE ONLY)           172,697 BTULCuFt                                                                                                                                                   ?
G.(1) FEEDWATER          1" NPT
H.(4) INSPECTION         2" NPT          HEATING SURFACE (ASME)                     132 SgFt
J.(1) SIGHTPORT          2" PIPE         FURNACE HEATING SURFACE
K.(1) SURFACE SLOWDOWN   t" NPT
                                                                                    14.97 SgFt                              NOTES                                    fP.5i         _i                 CHECKED BY             DATE
                                         FURNACE VOLUME                             9.26 CuFt                                                                        ~"""t'UI!Jill;l!llOJ!l                                               THIS DRAWING IS THE PROPERn
L.(2) SIGHT GLASS        tL2" NPT        STEAMING VOLUME                            4.46 CuFt
                                                                                                   1. ALL CONTROLS MOUNTED AS PER SPECIFICATION SHEET.     ~BOLER woo•s. INC.            u•AWN o                             uA••         OF SUPERIOR BOILER WORKS &
M.( 1) OVERFLOW          1" NPT          STEAM RELEASE AREA                         3.93 CuFt
                                                                                                   2. SPECIFICATION SHEET TAKES PRIORITY OVER R & 0 SHEET.
                                                                                                   3. BOILER DESIGN CODE ASME SECTION __L.
                                                                                                                                                             HUTCHNSON. KANSAS               ?                          :::::::-=::::::   SHALL NOT BE REPRODUCED IN
N.( )                                                                                                                                                                          BOILER YOOEL                                               PART OR IN WIHOLE, & NONE Of
                                                                                                   4. BOILER INSULA TED & COVERED W/22 GA. STEEL JACKET.      TRIAD                                                                       ITS INFORMATION SHALL BE
P.( )                                    WATER CAPACITY:                                           5. ALL DIMENSIONS ARE ± 1/2" UNLESS OTHERVt1SE NOTED.                        1600- HP                                                  REVEALED WITHOUT PERMISSION
0.()                                     (FULL)    116.1 Gals               0         966 Lbs                                                                          SCALE                          DRA'MNG No                          OR TO THE DETIRIMENT OF THE
R.( )                                    (NWL)     82.8 Gals                0         689 Lbs                                                                                                                                             Ov.NER. IT MUST BE RETURNED
S.( )                                    SHIPPING WEIGHT:                       2 300 Lbs
                                                                                                                                                                      1/24                                   ?                            UPON REQUEST.
